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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF KENTUCKY
                          COVINGTON DIVISION


   State of Tennessee; Commonwealth
   of Kentucky; State of Ohio; State of
   Indiana; Commonwealth of
   Virginia; and State of West Virginia,

               Plaintiffs,

   and

   Christian Educators Association            Case No. 2:24:cv-00072-DCR-CJS
   International; A.C., by her next friend
   and mother, Abigail Cross,                District Court Judge Danny C. Reeves
                                              Magistrate Judge Candace J. Smith
               Intervenor-Plaintiffs,

         v.

   Miguel Cardona, in his official
   capacity as Secretary of Education; and
   United States Department of
   Education,

              Defendants.


  INTERVENOR-PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OPPOSITION
   TO PLAINTIFFS’ MOTION FOR ENTRY OF BRIEFING SCHEDULE AND
   CROSS-MOTION TO STAY DISTRICT COURT PROCEEDINGS PENDING
    APPEAL OR, IN THE ALTERNATIVE, FOR A STAY OF DEFENDANTS’
   DEADLINES TO RESPOND TO PLAINTIFF STATES’ AND INTERVENOR-
                     PLAINTIFFS’ COMPLAINTS
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                                   INTRODUCTION

        By re-writing Title IX’s rules, the Department of Education (Department)

  threatened to deprive Intervenors of their First Amendment rights and to impose

  compliance costs and other injuries on the plaintiff-States. Order 79–88, ECF No.

  100. This Court’s injunction halts that threat—temporarily. Intervenors want that

  temporary protection to be permanent by resolving this litigation—preferably,

  quickly. But the Department sees things differently.

        The Department seeks to stay all proceedings in this court until after the

  Sixth Circuit rules on its appeal. See Defs.’ Motion (Mot.), ECF No. 116. Such a stay

  would prolong the looming risk of the threat generated by the department’s rules

  and elongate the uncertainty the Department created. What’s more, judicial

  economy counsels against granting the stay. A stay would prejudice the Intervenors

  while the Department never claims any prejudice if the stay is denied. For those

  reasons, the Department cannot meet the high burden to justify a stay. So the

  Department’s motion should be denied.

        The Department raises two other issues: (a) the briefing schedule and (b) an

  extension of time to respond to the complaints. As to (a), the plaintiff-States already

  explained why the proposed schedule is reasonable, and Intervenors consented to

  that schedule. See Mot. for Briefing Schedule 5, ECF No. 112. As to (b), Invervenors

  do not object to extending the Department’s deadline to respond to its complaint

  until the day the Department files its motion for summary judgment. Because (a) is

  already addressed and (b) is not objectionable, this response focuses only on the

  Department’s request to stay the district-court proceedings pending appeal.




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                                      ARGUMENT

        Where “[j]urisdiction exist[s],” federal courts have a “virtually unflagging”

  duty to hear cases properly before them. Sprint Commc’ns, Inc. v. Jacobs, 571 U.S.

  69, 77 (2013). Even so, district courts have the inherent power to “stay proceedings.”

  Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). District courts exercise that power

  “carefully” because “a party has a right to a determination of its rights and

  liabilities without undue delay.” Ohio Env’t Council v. U.S. Dist. Ct., S. Dist. of

  Ohio, E. Div., 565 F.2d 393, 396 (6th Cir. 1977). Because stays disrupt the normal

  course, the party seeking the stay has the burden to justify it. Id. That burden is

  heavy. The party must show a “pressing need for delay, and that neither the other

  party nor the public will suffer harm from entry of the order.” Id. And it must make

  that showing with a “clear case of hardship or inequity in being required to go

  forward.” Landis, 299 U.S. at 255. The Department has not made these showings.

        The Department offers two reasons for the stay. Neither suffice.

        First, the Department claims it would be more efficient to grant the

  requested stay because the Sixth Circuit’s preliminary-injunction ruling might

  inform the merits of the motions for summary judgment. Mot. 4–5. But this Court

  has already thoroughly considered and addressed the pure issues of law presented

  by the Department’s rules. Twice. Order, ECF No. 100; Order, ECF No. 117. Given

  that history, proceeding with summary-judgment motions is more reasonable.

  That’s especially true here where discovery isn’t necessary, the case presents pure

  legal questions, the Department’s “interpretation conflicts with the plain language

  of Title IX and therefore exceeds its authority to promulgate regulations under that

  statute,” Order 92, ECF No. 100, and the rule was “constructed on a foundation of

  quicksand,” Order 5, ECF No. 117.

        Consider also the timing. Even if merits briefing and oral argument were

  completed tomorrow (an impossibility), on average, a decision from the Sixth Circuit


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  would issue sometime in February 2025—about seven months from now. See

  Federal Court Management Statistics 16, https://bit.ly/4bEbRvE (last visited July

  10, 2024) (noting 8.8-month median time from notice of appeal to disposition). On

  remand, this Court would then address motions for summary judgment. And the

  Sixth Circuit would potentially be required to hear a second appeal. Completing

  those tasks could easily take a year or more.

        But, under state-Plaintiffs’ proposed briefing schedule, summary judgment

  would be completed by August 2024. Even with a slightly extended schedule, the

  parties could finish the summary judgment briefing soon. This Court could then

  rule on those motions. And any adversely affected party could appeal that decision

  to the Sixth Circuit. The Sixth Circuit could then consolidate the appeals, render

  one, final decision, and obviate the need for a remand on the merits. That process

  would save time and judicial resources by only requiring one Sixth Circuit ruling.

        The Sixth Circuit has authority to consolidate cases. Fed. R. App. P. 3(b)(2).

  It has exercised that authority in analogous situations. See, e.g., Myers v. Wren, No.

  22-2148/23-1807, 2024 WL 1506452, at *2 (6th Cir. Apr. 3, 2024) (consolidating

  plaintiff’s appeal of denial of a preliminary injunction with plaintiff’s appeal of an

  order granting summary for defendants); Williamson v. Recovery Ltd. P’ship, 731

  F.3d 608, 611 (6th Cir. 2013); Downing v. Life Time Fitness, 483 F. App’x 12, 15 (6th

  Cir. 2012); Boinapally v. Univ. of Tennessee, 23 F. App’x 512, 514 (6th Cir. 2001).

        Second, the Department alleges that the Plaintiffs would suffer no

  “meaningful[] prejudice” by the stay. Mot. 5. Not so. Intervenors hope to resolve this

  litigation sooner rather than later. They have an interest in ensuring that the new

  rules do not deprive them of (a) state laws that protect their free speech and (b)
  school-district harassment policies that protect their free-speech rights more

  broadly. Intervenors’ Compl. ¶¶ 260–66, ECF No. 21-3. Staying the case now likely

  prolongs this case for at least another year and leaves them in limbo. The public


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  also has an interest in having this case resolved because of its interest in the

  “correct application” of the law. Order 88, ECF No. 100 (cleaned up); Order 25, ECF

  No. 117. But a stay here would likewise deprive the public of the certainty of

  knowing whether the rules apply to matters that affect their daily lives. Against

  these interests, the Department never even attempts to show how it would be

  prejudiced by denying its request. On balance, a stay isn’t warranted.

        The Department string cites to several docket entries where district courts

  granted stay requests. Mot. 4. Those entries establish that district courts have

  discretion to grant stays, not that a stay is appropriate here. The Department also

  cites several out-of-circuit cases. Id. at 5. But those district courts found that the

  appeal would either streamline the lower court litigation (for example, by

  potentially limiting discovery) or that the stay didn’t prejudice the non-moving

  party. Neither justification applies here.

        More fundamentally, an “appeal from an order granting or denying a

  preliminary injunction does not divest the district court of jurisdiction to proceed

  with the action on the merits.” Zundel v. Holder, 687 F.3d 271, 282 (6th Cir. 2012).

  And federal courts in Kentucky frequently deny motions to stay entire proceedings

  pending appeal. See, e.g., ARGI Fin. Grp., LLC v. Hardigg, No. 3:20-CV-587-RGJ,

  2020 WL 12812978, at *2 (W.D. Ky. Dec. 8, 2020). C.f. Brunswick TKTKonnect, LLC

  v. Kavanaugh, No. 3:22-CV-00004-RGJ-CHL, 2023 WL 8582592, at *1 (W.D. Ky.

  Dec. 11, 2023) (denying motion to stay pending arbitration even though Defendant

  argued proceeding “simultaneously would result in “‘an unnecessary waste of

  resources and present the real possibility of inconsistent rulings’”); Caudill v. Wells

  Fargo Home Mortg., Inc., No. 5:16-066-DCR, 2016 WL 3820195, at *2–3 (E.D. Ky.
  July 11, 2016).

        The Department has not cleared the high hurdle to justify a stay here. The

  Department’s request should be denied.


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  Respectfully submitted this 11th day of July, 2024.


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                             CERTIFICATE OF SERVICE

        I hereby certify that on the 11th day of July, 2024, I electronically filed the

  foregoing document with the Clerk of Court using the ECF system which will send

  notification of such filing to all counsel of record who are registered users of the

  ECF system.

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